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Cl Stat Docket #
State Fulton County Superior Court

Plaintiff(s) Defendant(s) ““EFILED™" QW

Date: 7/3/2017 6:50:28 PM
CURLING DONNA KEMP BRIAN P. Cathelene Robinson, Clerk
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COALITION FOR GOOD GOVERNANCE WORLEY DAVID J.
Last First Middle IT. Suffix Prefix Maiden Last First Middle IT. Suffix Prefix Maiden
PRICE DONNA SULLIVAN REBECCA N.
Last First Middle], Suffix Prefix Maiden Last First Middle I. Suffix Prefix Maiden
SCHOENBERG JEFFREY SIMPSON RALPH F,
Last First Middle I. Suffix Prefix Maiden Last First Middle [. Suffix Prefix Maiden
No. of Plaintiffs 7 No. of Defendants 29
Plaintiff/Petitioner's Attorney O Pro Se
WARD BRYAN M.
Last First Middle I, Suffix

 

 

 

 

 

 

Check Primary Type (Check only ONE) If Tort is Case Type:
(Check no more than TWO)
O Contract/Account
O Auto Accident
O Wills/Estate
LO Premises Liability
O Real Property
O Medical Malpractice
O_ Dispossessory/Distress
O Other Professional Negligence
Ol Presonal Property
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O_ Habeas Corpus pecify
C1 Appeals, Reviews
. Are Punitive Damages Pleaded? D1 Yes M No
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Other Relief
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